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Case 2:17-cv-00380-WTL-I\/|.]D Document 71 Filed 03/12/18 Page 1 of 1 Page|D #: 289

U.S. Department of Justice
United States Marshals Service

   

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PROCESS RECEIPT AND RETURN

See "ln.\‘lr!w!inm' or Service 0 `Pr¢)cess b

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PLAiNTiFF
ELISHA RIGGLEMAN ' 2:17-cv-00380-WTL-M}D
DEFENDANT TYPE or PROCESS ‘

MATTHEW TUSSEY L.T., C. ZIPPERLE, A. WIBLE, D. PORTER, N. MARTIN, A. S(

 

Entry, Summons, Amended Complai

 

NAME OF lNDlVlDUAL, COMPANY_ CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERT\' TO SE|ZE OR CONDEMN

SERVE
AT

D. PORTER
ADDRESS (S!r¢¢¢ or RFD, Apartm¢nt No., Clty, Slate and ZIP Code)

FCl TERRE HAUTE 4700 BUREAU ROAD NOR'I'H TERRE HAUTE, IN 47808

 

SEND NOT|CE OF SERVlCE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

 

|_

E!isha Riggleman, #0741 1 -088

United States Penitentiary, Lewisburg

2400 Robert F Miller Dr.
L_Lewisburg, PA 17837

served with this Form 285

 

Number of parties to be
served in this case

‘i

 

Check for service
on U.S.A.

 

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SPEClAL lNSTRUCTlONS OR OTHER !NFORMATION TllAT W[LL ASS!ST IN EXPEDITING SERVlCE [In¢'lude §Mg_n_d_dmdddr¢ss¢s,

AII Teleplwne Numb¢n, ami E:!imat¢d TlmaAvailable far Service).'

 

Signature of Attorney other Originatnr requesting service on behalf of`:
s/Dena W. Hemandez, Deputy Clerk

PLAiNTiFF
[] oizPENDANT

 

TELEPHONE NUMBER

(317) 229-3700

DATE
01/ 17/ 18

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONL¥-- DO NOT WRITE BELOW THIS LINE

 

District to
Serve

N°KM

l acknowledge receipt for the total Total Process District ol`
number of process indicated Ori in
(Slgn only far USM 285 ifmare § §

man one USM 285 I.r mbmirled) No.

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Signature of Authorized USMS Deputy or Clerk

M\\iii_ @t\(m

Date

limit

 

 

l hereby certify and return that l dhave personally served, [:] have legal evidence of service, m have exuuted as shown 111 'Remarks" the process described

on the individual company, corporation, etc. at the address shown above on the on the individual, company, corporation,

etc shown at the address inserted below

 

l:] l hereby certify and return that l am unable to locate the individua|, company, corpomtion, etc. named above (S¢e remarks below)

 

Name and title of individual served (ifnol shown above)

L__] A person of` suitable age and discretion
then residing in defendants usual place

 

 

 

 

 

 

 

 

 

  

 

 

 

of abode
Address (complele only different than shown above) Da\e Time n
]-7-/9 7.'0§ tai
Sign f .S. rshal 0 puty
Service Fee Total Mileage Chargee Forwarding Fee Total Charges Advance Deposits _»\moum o\\cd to ll S. Mnrsh:il* or
including endeavors) (.\moum nt` licl`und*)
G§_~Ob 7.00 GX‘S,O P,, H
RF.rt/i»\iu<sy "` l 7 _EJ'D
NAR 7 2 2013
i. CLERK or THE couRT PRloR F.DmoNs MAY BE UsED

U_S
2. USMS RECORD
3 NoTlcE or sERvici-: lND’SA N/-\pO
4 BlLLlNG STATEMENT*: To be retumed to the U S. Marshal with payment
it any amount is owed Please remit promptly payable to U. S Marshal.
5. ACKNOWLEDGMENT OF RECEIPT

CLERK’ 8
OL/s (:?\,':§:'CE

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Form USM-285
Rev. | ll l 3

